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                                        CASE NO. 23-1854


                                       IN THE
                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

        D.C., by his parents and guardians, Trevor Chaplick and Vivian Chaplick; TREVOR
        CHAPLICK; VIVIAN CHAPLICK; M.B., by his parents and guardians, James
        Bingham and Sheila Bingham; JAMES BINGHAM; SHEILA BINGHAM; HEAR
        OUR VOICES, INC., on behalf of themselves and all others similarly situated,

                     Plaintiffs-Appellants,
                                                 v.

        Fairfax County School Board; Virginia Department of Education; Dr. MICHELLE
        REID, Superintendent of Fairfax County Public Schools; DR. LISA COONS,
        Virginia Superintendent of Public Instruction,

                     Defendants-Appellees.


        On Appeal from the United States District Court for the Eastern District of Virginia,
        Case No. 1:22-cv-1070, Hon. Michael S. Nachmanoff

         RESPONSE BRIEF OF DEFENDANTS-APPELLEES FAIRFAX COUNTY
         SCHOOL BOARD AND DR. MICHELLE REID, SUPERINTENDENT OF
                     FAIRFAX COUNTY PUBLIC SCHOOLS


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                                        INTRODUCTION

              This case was brought by two families, the Chaplicks and the Binghams, each

        of whom have a child with a disability—D.C. and M.B., respectively. As students

        with disabilities residing in Fairfax County, Virginia, D.C. and M.B. are each

        entitled to a free appropriate public education (FAPE) provided by the Fairfax

        County School Board (FCSB), as required by the Individuals with Disabilities in

        Education Act (IDEA). The FCSB first evaluated D.C. (now almost 21-years-old)

        and M.B. (now 16-years-old) and found them eligible for special education and

        related services when each was five-years old. (JA21-24). Ultimately, a dispute

        arose between the FCSB and each family over the FCSB’s proposed educational

        placement for the students. (JA22, JA24). The families sought to have their children

        placed in a more restrictive environment (JA22, JA24), contrary to the IDEA’s

        requirement that the FCSB educate students with disabilities in the least restrictive

        environment in which they can access their education. See Hendrick Hudson Cent.

        Sch. Dist. V. Rowley, 458 U.S. 176, 202 (1982); DeVries v. Fairfax Cnty. Sch. Bd.,

        882 F.2d 876, 878 (4th Cir. 1989).

              The IDEA provides for an administrative review process, including the

        opportunity for a due process hearing before a hearing officer, to resolve disputes

        between parents and school districts. The Chaplicks, however, chose not to avail

        themselves of that process. (JA52-54). The Binghams did file a request for due

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        process, and ultimately the hearing officer concluded that the FCSB offered M.B. a

        FAPE. M.B. v. Fairfax Cnty. Sch. Bd., No. 1:22-cv-930, 2023 WL 5367524, at *5

        (E.D. Va. Aug. 22, 2023). The Binghams sought review of that decision in the

        United States District Court for the Eastern District of Virginia. The court upheld

        the hearing officer’s determination (Id. at *9), and the Binghams did not appeal to

        this Court.

              In this case, despite having failed to pursue the administrative process

        (Chaplick) or having pursued the administrative process and lost (Bingham),

        Appellants seek to recast their individual IDEA claims as “class” claims on behalf

        of other hypothetical students.     The district court below properly granted the

        Defendants’ motions to dismiss. The FCSB and Fairfax County Public Schools

        Superintendent Michelle Reid (collectively, the FCSB Appellees) respectfully

        request that this Court uphold that decision.

                                    STATEMENT OF ISSUES

              1.      Whether the First Amended Complaint (FAC) fails to state a claim that

        the FCSB Appellants’ policies and procedures systemically deny students with

        disabilities the FAPE to which they are entitled?

              2.      Whether D.C. and the Chaplicks failed to exhaust administrative

        remedies and the allegations are insufficient to excuse them from the exhaustion

        requirement?

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                 3.    Whether M.B. and the Binghams’ claims in this case were duplicative

        of their claims before a different judge in the same court, and whether those claims

        are now barred by res judicata?

                 4.    Whether Hear Our Voices (HOV) lacks standing?

                 5.    Whether Appellants failed to state a claim for relief against

        Superintendent Reid under 42 U.S.C. § 1983?

                 6.    Whether Appellants failed to state a claim for class action relief?

                                      STATEMENT OF THE CASE

            I.   Complaint Allegations

                 Appellants are two students (D.C. and M.B.) who reside in Fairfax County

        and are eligible to receive special education and related services, their parents (the

        Chaplicks and the Binghams), and Hear Our Voices, Inc. (HOV), which is

        described as a “private, non-profit member organization [ . . . ] incorporated in

        Delaware [ . . . and] established to protect and advocate for the rights of persons

        with disabilities and to safeguard the rights of individuals with developmental

        disabilities.” (JA25). Appellants sued the FCSB Appellees as well as the Virginia

        Department of Education (VDOE) and VDOE Superintendent of Public Instruction

        Lisa Coons 1 in her official capacity. (JA1-5, JA9).




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            Substituted by Order entered April 27, 2023.
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              The FAC essentially combines two separate purported class actions, on behalf

        of two separate classes, in this one case. The first action is brought on behalf of a

        purported class referred to as “the VDOE class.” (JA31). This class encompasses

        all students with disabilities aged 3 to 21 residing within the Commonwealth of

        Virginia. (JA31). The Defendants to these class claims are the VDOE and State

        Superintendent Coons. The claims are a wholesale challenge to the Virginia laws

        and regulations that implement the IDEA.

              Although many of the paragraphs in the FAC refer to all the Defendants

        jointly, it is clear from the Counts, the Prayer for Relief, and the description of the

        VDOE class, that these claims are not asserted against the FCSB Defendants. 2

        (JA31, JA107-127).

              Instead, Appellants attempted to pursue a second class action on behalf of “the

        FCPS class,” which they define as “[a]ll students with disabilities aged 3 to 21

        residing in Fairfax County who have requested or received an evaluation for special

        education and related services, under the IDEA and their parents.”             (JA31).

        Appellants allege that Superintendent Reid engaged in systemic violations of the

        United States Constitution (JA107-110) and that the FCSB engaged in systemic



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         The FAC fails to state a claim that Virginia statutes, regulations, and administrative
        processes violate the IDEA and the United States Constitution. These claims,
        however, are not brought against the FCSB Appellees—nor could they be as a matter
        of law. Therefore, the FCSB Appellees do not address those issues in this brief.
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        violations of the IDEA (JA115-118) by failing to provide a FAPE to all students

        with disabilities residing in Fairfax County.

              In support of these allegations, Appellants do not point to a single official

        policy or practice of the FCSB Appellees. Rather, Appellants assert that they have

        alleged sufficient facts to support a claim that the FCSB Appellees have a secret

        practice of engaging in tactics to deny a FAPE to students with disabilities. The

        FAC consists of 367 paragraphs, and Appellants’ Opening Brief before this Court

        provides citations to the FAC in support of their claims. A close review of the FAC—

        and in particular the paragraphs cited by the Appellants in their brief—however,

        reveals that, despite the length of the FAC, the FAC does not allege any facts

        sufficient to support allegations of a secret practice by the FCSB Appellees. The

        allegations are mostly about the Virginia regulatory system, which makes sense

        because, as the Appellants note, that is a “primary target” of the FAC. Appellants’

        Br. 31. Other “supporting facts” include actions by VDOE and actions by other

        school districts in Virginia (JA59-61, JA63-64, JA66-67, JA69-70, JA78-80, JA86-

        87, JA96-98), as well as claims by one unnamed former teacher from an unidentified

        time period (JA72-73), and concerns about the provision of a FAPE to one unnamed

        student from an unidentified time period. (JA73-74).

              The only facts alleged by Appellants with any particularity relate to the

        disagreements that the two named families have with the individualized education

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        programs (IEPs) that the FCSB offered to their children. Given that there are tens

        of thousands of students with disabilities enrolled in FCPS, it is hardly surprising

        that on occasion families disagree with the IEPs proposed by the FCSB. Further,

        two families disagreeing with the FCSB is simply not sufficient to support claims of

        a wholesale, systemic failure to provide a FAPE to the tens of thousands of students

        with disabilities in Fairfax County.

              To the extent the Chaplicks and the Binghams alleged facts sufficient to state

        a claim for individual relief, the IDEA provides an administrative process by which

        disputes between families and school systems can be resolved. If either party takes

        issue with the results of the administrative process, that party has the right to request

        a review of the administrative decision in either federal or state court. The Chaplicks

        failed to exhaust this administrative process. The Binghams pursued the

        administrative process and lost.

              In 2015, the Chaplicks requested an administrative due process hearing,

        pursuant to the IDEA. (JA22). The hearing officer in that matter found that the

        FCSB offered D.C. a FAPE. (JA49). In 2021, the Chaplicks again requested a due

        process hearing, but withdrew their request because the same hearing officer was

        assigned and did not recuse herself. (JA52, JA108-109). In so doing, the Chaplicks

        did not exhaust administrative remedies, and therefore their claims should not be

        reviewed in federal court.

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                 The Binghams did exhaust their administrative remedies. (JA24). Because

        they disagreed with the results of the administrative process, the Binghams sought a

        review of the administrative decision in the United States District Court for the

        Eastern District of Virginia. (JA25). The Binghams’ appeal was pending before a

        judge in the same district court when the judge in this matter determined that the

        Binghams’ claims in this case were duplicative of the claims in their administrative

        appeal. In the administrative matter, the court has now determined that the FCSB

        did provide a FAPE to M.B., and the Binghams did not appeal that decision to this

        court.

        II.      Procedural History

                 Appellants filed the FAC on January 20, 2023. Both the FCSB Appellees and

        the VDOE Appellees moved to dismiss the FAC on multiple grounds, including a

        failure to state a claim against the FCSB Appellees. ECF Nos. 51, 52, JA7. The

        FCSB Appellees continue to rely on all arguments raised in support of their Motion

        to Dismiss. In an order published on July 25, 2023, the district court properly

        granted the motions to dismiss on the basis that D.C. and the Chaplicks failed to

        exhaust administrative remedies, M.B.’s and the Binghams’ claims were duplicative

        of the pending district court matter reviewing the administrative hearing officer

        determination, and HOV did not have standing to sue. (JA216-228).




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                                    SUMMARY OF ARGUMENT

              The district court properly dismissed Appellants’ claims against FCSB and

        Superintendent Reid.

              First, Appellants’ claims of systemic violations should be dismissed for

        failure to state a claim because Appellants do not and cannot point to any FCSB

        official policy or practice that violates the IDEA. They argue instead, in sweeping

        and conclusory statements that lack any factual basis, that the FCSB Appellees

        engage in a secret practice of denying the rights of the FCPS class.

              Second, the district court properly concluded that the Chaplicks chose not to

        exhaust administrative remedies as required under the IDEA and failed to carry their

        burden of proving that excusal from exhaustion was warranted.

              Third, the Binghams did exhaust their administrative remedies and appealed

        the hearing officer’s decision to federal court. The district court in this case properly

        concluded that Binghams’ claims in the case reviewing the hearing officer’s

        determination were duplicative of their claims in this case and therefore should be

        dismissed. In the interim, the court reviewing the hearing officer’s findings has now

        determined that the FCSB Appellees provided a FAPE to M.B. Accordingly, the

        Binghams’ claims are now subject to res judicata principles.

              Fourth, the district court properly found that HOV has neither organizational

        nor associational standing in this matter. (JA216-221).

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              Fifth, Appellants failed to state a claim under 42 U.S.C. § 1983 against

        Superintendent Reid. Those claims are in actuality IDEA claims, and therefore must

        proceed through the IDEA’s remedial processes.

              Sixth, the class claims against the FCSB Appellees were properly dismissed

        for failure to state a class claim because Appellants failed to set forth sufficient facts

        to meet the threshold requirements under Federal Rule of Civil Procedure 23(a).

                                            ARGUMENT

         I.   Standard of Review


              In reviewing the district court’s rulings on the FCSB Appellees’ motion to

        dismiss, this Court is not limited to the grounds stated by that court but “may affirm

        on any grounds apparent from the record.” Pitt Cty. V. Hotels.com. L.P., 553 F.3d

        308, 311 (4th Cir. 2009) (quoting Suter v. United States, 441 F.3d 306, 310 (4th Cir.

        2006). Accordingly, this Court may also dismiss this action based on the FCSB

        Appellee’s arguments that Appellants failed to state a claim as required by Rule

        12((b)(6) of the Federal Rules of Civil Procedure.

              To survive a motion to dismiss under Rule 12(b)(6), a plaintiff’s “‘factual

        allegations must be enough to raise a right to relief above the speculative level,’

        thereby ‘nudging . . . claims across the line from conceivable to plausible.’’’ Aziz v.

        Alcolac, Inc., 658 F.3d 388, 391 (4th Cir. 2011) (quoting Bell Atl. Corp. v. Twombly,

        550 U.S. 544, 555 (2007)). See also Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)

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        (holding that bare legal conclusions “are not entitled to the assumption of truth” and

        cannot state a claim); Jordan v. Alt. Res. Corp., 458 F.3d 332, 346 (4th Cir. 2006),

        overruled in part on other grounds by Boyer-Liberto v. Fontainebleau Corp., 786

        F.3d 264 (4th Cir. 2015); Francis v. Giacomelli, 588 F.3d 186, 193 (4th Cir. 2009).

              With respect to exhaustion of administrative remedies, this Court has

        determined that the issue “‘is a pure question of law that we review de novo.’” K.I.

        v Durham Pub. Schs. Bd. Of Educ., 54 F.4th 779, 788 (4th Cir. 2022) (quoting E.L.

        ex rel. Lorsson v. Chapel Hill-Carrboro Bd. Of Educ., 773 F.3d 509, 514 (4th Cir.

        2014)).

              Whether the Binghams’ claims were duplicative of another matter is

        reviewed for abuse of discretion. See, e.g., Scholz v. United States, 18 F.4th 941,

        951 (7th Cir. 2021).

              Finally, dismissal for lack of standing is reviewed de novo. Zimmerman v.

        Great Am. Ins. Co., No. 22-1749, 2023 WL 5696526, at *1 (4th Cir. Sept. 5, 2023).

        II.   Appellants fail to state a claim that any FCSB policy or procedure denies
              FAPE to students with disabilities


              The FAC includes allegations about the IEPs offered to D.C. and M.B., their

        parents’ disagreements with those IEPs, and the families’ frustration that the IDEA

        administrative processes administered by VDOE did not provide them with the relief

        sought.   Appellants essentially rely upon these allegations of their individual

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        complaints to support a claim for systemic relief. (JA50-52; JA93-96) And for one

        of those families—the Binghams—a federal district court has already determined

        that the FCSB Appellees did not violate the IDEA. M.B. v. Fairfax Cnty. Sch. Bd.,

        2023 WL 5367524, at *13.

              Based on their disagreement with the IEPs offered to their children, the

        Appellants assert that the FCSB Appellees fail to comply with the most fundamental

        requirements of the IDEA at all, such as providing special education services and

        evaluations for students with disabilities (JA72), providing independent education

        evaluations (JA76), ensuring IEPs are properly developed, implemented, and

        followed (JA83, JA99), providing procedural safeguards (JA31-32), and ensuring

        that accurate information is provided to parents (JA76-77).

              To survive a motion to dismiss, a complaint alleging systemic, or pattern or

        practice, violations must provide some factual basis to support that the claims at

        issue are something more than individual experiences. See, e.g., Devi v. Prince

        George’s Cnty., No. DKC 16-3790, 2017 WL 3591452, at *4 (D. Md. Aug. 21,

        2017).

              In the IDEA context, class actions have proceeded on claims of systemic

        violations in cases where defendants are alleged to have a specific policy or practice

        that resulted in a narrow category of violations, affecting a specific category of

        students in the same or similar way. For example, in J.N. v. Oregon Department of

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        Education, six policies and procedures of the state department of education were

        alleged to result in school divisions across the state shortening school days of

        students with behavioral issues, denying those students the right to be educated in

        the least restrictive environment alongside their peers without disabilities. J.N. v. Or.

        Dep’t of Educ., 338 F.R.D. 256, 270-73 (D. Or. 2021).

              In another IDEA class action case, plaintiffs alleged that the defendant school

        district maintained a policy of not providing related services (such as occupational,

        physical, or speech/language therapy) during the first two weeks (or longer) of the

        school year. R. A-G. v. Buffalo City Sch. Dist., No. 12-CV-960S, 2013 WL 3354424,

        at *3 (W.D.N.Y. July 3, 2013). Plaintiffs further alleged that this policy resulted in

        systemic violations of the IDEA because the school district was failing to assess

        individually the needs of students and to implement the related services required by

        the students’ IEPs. Id.

              Unlike those cases, Appellants here do not point to any specific policy or

        practice of the FCSB Appellees that would result in systemic violations. They do

        not do so because those policies and procedures—which are publicly available—

        comport with the requirements of the IDEA. 3


        3
         See, e.g., Fairfax County Public Schools (FCPS) Policies, Bylaws, and Regulations,
        https://insys.fcps.edu/schoolboardapps/report_policy/cache/alpha-A.htm;
        FCPS Procedures Required for Implementation of Special Education Regulations
        in Virginia’s Public Schools, https://www.fcps.edu/academics/academic

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              Instead, Appellants assert that because the Chaplicks and the Binghams were

        not satisfied with the FCSB Appellees’ proposed placement for their two students,

        the FCSB Appellees must be engaging in a secret practice not to follow the

        requirements of the IDEA for each of the over twenty-six thousand students with

        disabilities enrolled in Fairfax County Public Schools. They support this leap by

        citing to: (1) the FCSB’s separate agreement with a federal agency to provide

        compensatory services to students whose learning was impacted during the COVID-

        19 pandemic (JA100-102); 4 (2) the actions of other school divisions across Virginia

        (JA59-61, JA63-64, JA66-67, JA69-70, JA78-80, JA86-87, JA96-98); (3) purported

        allegations by one unnamed teacher from an unidentified time period (JA72-73); and

        (4) purported allegations regarding an unnamed students from unidentified time

        periods. (JA73-74).




        overview/special-education-instruction/special-education-procedural-support-6;
        and FCPS Grading and Reporting, https://www.fcps.edu/academics/grading-and-
        reporting.
        4
          In their separate district court case challenging the findings of the hearing officer,
        the Binghams also attempted to make the argument that the FCSB’s voluntary
        settlement with a federal agency should be used as evidence that M.B. was not
        provided a FAPE during the COVID-19 pandemic. The judge, however, rejected
        the argument for multiple reasons, including that the letter of findings from the
        agency “is a unilateral determination issued primarily through a paper inquiry. . .
        which does not have sufficient guarantees of reliability.” See M.B., 2023 WL
        5367524, at *11 (citing M.S. v. Fairfax Cnty. Sch. Bd., No. 1:05cv1476(JCC), 2006
        WL 2316202, at *3-4 (E.D. Va. Aug. 11, 2006)).
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               These vague and speculative allegations simply cannot be sufficient to state a

        claim that the FCSB Appellees are systemically denying a FAPE to all students with

        disabilities, contrary to the FCSB Appellees’ own policies and procedures. As such,

        the FCSB Appellees respectfully request this Court to dismiss the FAC because it

        fails to state a claim for systemic relief against the FCSB Appellees. See Iqbal, 556

        U.S. at 679.

        III.   D.C. and the Chaplicks failed to exhaust administrative remedies and the
               allegations are insufficient to support any exception to the exhaustion
               requirement


               Because the FAC fails to state a claim for systemic relief, the question

        becomes whether the Appellants can proceed as individuals. The Chaplicks may not

        do so because they failed to comply with the IDEA’s administrative exhaustion

        requirement, as the District Court below properly determined. Claims under the

        IDEA that allege a denial of a FAPE must be administratively exhausted prior to

        being brought before a federal court. See Fry v. Napoleon Cmty. Schs., 580 U.S. 154,

        170 (2017) (noting the IDEA’s exhaustion requirement applies when the “gravamen

        of a complaint seeks redress for a school’s failure to provide a FAPE”); 20 U.S.C. §

        1415 (l). As this Court has stated previously, “the IDEA’s exhaustion requirement

        serves the important purpose of allowing states to use their special expertise to

        resolve educational disputes.” E.L. ex rel. Lorsson v. Chapel Hill-Carrboro Bd. Of

        Educ., 773 F.3d 509, 514 (4th Cir. 2014).

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              Appellants do not dispute that the Chaplicks failed to exhaust their available

        administrative remedies. They argue instead that their failure to pursue any

        administrative avenues for relief should be excused. First, Appellants argue that

        they should be excused from the exhaustion requirement based on a misreading of a

        recent case from the Supreme Court of the United States (Perez v. Sturgis Public

        Schools, 598 U.S. 142 (2023)).       If that argument fails, Appellants claim that

        exhaustion would have been futile based on: (1) an exception to the exhaustion

        requirement that has not been recognized in this Circuit and virtually never applied

        in other circuits; or (2) an assertion without support that all hearing officers in the

        entire Commonwealth of Virginia are biased.

                  A. The United States Supreme Court’s recent decision in Perez v.
                     Sturgis Public Schools does not exempt the Chaplicks from the
                     IDEA’s exhaustion requirement


              Appellants argue that based on Perez v. Sturgis Public Schools, 598 U.S. 142

        (2023), they are not required to exhaust administrative remedies for their claims.

        However, the Supreme Court’s decision to excuse the Perez plaintiff’s failure to

        exhaust rested on factors that are not present in this case: 1) the plaintiff’s claims

        were brought under the Americans with Disabilities Act (ADA), and 2) the plaintiff

        sought “backward-looking relief in the form of compensatory damages”—relief that

        is available under the ADA, but not under the IDEA. Id. At 144, 147-48.



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              The Perez case was brought by Miguel Luna Perez, who is deaf. Id. at 145.

        From the ages of 9 through 20, he was educated by the Sturgis Public School District

        in Michigan. Id. Mr. Perez alleged that the school district had denied him qualified

        aides to translate classroom instruction into sign language. Id. Additionally, Mr.

        Perez alleged that the school district had “misrepresented [his] educational progress

        and 16dvance[ed] him from grade to grade regardless of his progress.” Id. Because

        of the misrepresentations, Mr. Perez and his family “believed he was on track to

        graduate” on time until “months before graduation, Sturgis revealed that it would

        not award him a diploma.” Id.

              Mr. Perez filed a state complaint, and eventually he and the school district

        agreed to a settlement that provided Mr. Perez “all forward-looking equitable relief

        he sought.” Id.

              Mr. Perez then “filed an action in federal district court under the ADA seeking

        backward-looking relief in the form of compensatory damages.” Id. The school

        district argued that Mr. Perez’s suit should be dismissed for failure to exhaust

        administrative remedies. Id. Ultimately, the United States Supreme Court reviewed

        the case and determined that “where a plaintiff brings a suit under another federal

        law for compensatory damages,” exhaustion is not required. Id. at 147-48 (emphasis

        added).




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              Here, the Appellants do not bring claims under the ADA, and all the claims

        against the FCSB Appellees are premised on alleged violations of the IDEA.5

        Additionally, Appellants do not seek compensatory damages, as was the case in

        Perez, but rather only equitable relief, which is available under the IDEA.6 Although

        the Supreme Court was clear that it was narrowly deciding the issue before the Court

        (Id. at 151), Appellants here urge a much broader application, which would expand

        the ruling— beyond cases brought under the ADA for compensatory damages— to

        IDEA disputes in which plaintiffs seek systemic equitable relief. Such an expansive

        interpretation goes well-beyond the circumstances at issue in Perez.

              Even if this Court were inclined to broaden the holding in Perez, Appellants’

        argument presupposes that they have stated a claim of systemic violations. But they


        5
          Count II (a purported due process claim alleging deprivations of property and
        liberty interests as provided by the IDEA) (JA110) and Count I (a purported equal
        protection claim alleging a denial of the FAPE guaranteed by the IDEA) (JA107-
        108) are brought under 42 U.S.C. § 1983 (Section 1983). As discussed in more detail
        in Section VI below, claims asserting a deprivation of rights under the IDEA may
        not be recast as constitutional claims under Section 1983. Sellers v. Sch. Bd. of City
        of Manassas, 141 F.3d 524, 527 (4th Cir. 1998). Therefore, Counts I and II are
        IDEA claims, despite Appellants attempts to create claims outside of the IDEA.

        6
         See, e.g., Bouabid v. Charlotte-Mecklenburg Schs. Bd. of Educ., 62 F.4th 851,
        861 (4th Cir. 2023) (“Courts have thus viewed ALJs in IDEA cases as having
        broad remedial authority.”) (citing Indep. Sch. Dist. No. 283 v. E.M.D.H., 960 F.3d
        1073, 1084 (8th Cir. 2020); J.T. v. D.C., 496 F. Supp. 3d 190, 211–12 (D.D.C.
        2020)); 20 U.S.C. § 1415(i)(2)(C) (stating that on appeal a court may “grant such
        relief as the court determines is appropriate”); accord Va. Code § 22.1-214(D), 8
        Va. Admin. Code § 20-81-210(T)(2).
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        have not, as discussed above. What Appellants have pleaded is that the Chaplicks

        are not satisfied with the IEP that the FCSB offered D.C. That is precisely the sort

        of claim that is best addressed through the IDEA’s administrative process.

                  B. Appellants have not met their burden to support a futility excuse
                     to the exhaustion requirement


              Appellants next argue that this Court should excuse the Chaplicks’ decision

        not to exhaust because exhaustion would have been futile.            This Court has

        recognized only three narrow exceptions to the exhaustion requirement: “(1) when

        the administrative process would have been futile; (2) when a school board failed to

        give parents proper notification of their administrative rights; or (3) when

        administrative exhaustion would have worked severe harm upon a disabled child.”

        M.M. ex rel. D.M. v. Sch. Dist. Of Greenville Cnty., 303 F.3d 523, 536 (4th Cir. 2002)

        (citations omitted).

              Here, Appellants assert that administrative processes would have been futile.

        They attempt two arguments on this point. First, Appellants ask this Court to

        recognize for the first time a “systemic” exception to the exhaustion requirement.

        Next, Appellants argue that all hearing officers in Virginia are biased. Appellants

        bear the burden of proving that exhaustion would have been futile. Z.G. v. Pamlico

        Cnty. Pub. Sch. Bd. Of Educ., 744 F. App’x 769, 777 (4th Cir. 2018). They have

        failed to meet that burden.


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                     1. The “systemic” exception to exhaustion is not recognized in the
                        Fourth Circuit, and the allegations in this case do not warrant
                        such an exception


              Although Appellants vaguely state that “courts” have recognized a “systemic”

        exception, they fail to mention that this exception has never been adopted by or

        within the Fourth Circuit. Appellants’ Br. 34. To be clear, Appellants are asking this

        Court to join a minority of other Circuits in allowing a systemic exception to the

        exhaustion requirement—an exception not contained in the plain text of the IDEA.

              The only case from the Fourth Circuit cited for this sweeping assertion is an

        unreported district court opinion from 1995, Pullen v. Botetourt County School

        Board, No. CIV. 94-686-R, 1995 WL 738983 (W.D. Va. Feb. 13, 1995). In Pullen,

        the plaintiff did not allege systemic violations, nor was the Court required to perform

        any analysis on that point. The line cited from that opinion by Appellants (noting

        that “[r]ecourse to administrative procedures will generally be futile when the

        plaintiff alleges structural or systemic failure” (Id. at *2)) is merely a recitation of a

        quotation from another circuit that is presented by the court in its broad examination

        of IDEA exhaustion case law—it is not commented upon or used in further analysis.

        Id. The Appellants take this single line of dicta and inflate it to conclude that the

        exhaustion exemption for systemic claims has been recognized in the Fourth Circuit.

              Appellants also cite to the Supreme Court case of Honig v. Doe, 484 U.S. 305

        (1988) which, like Pullen, does not involve the Court engaging in any kind of

                                                   19
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        analysis or making any conclusions that systemic claims should be addressed in a

        special manner. Instead, the cited portion of the Honig case merely acknowledges a

        futility exception to the general exhaustion requirement. Id. at 326-327.

                 Interestingly, although a few circuit courts have recognized the possibility of

        a “systemic exception,” the actual application of this exception has been almost

        nonexistent. As the United States Court of Appeals for the Ninth Circuit has noted,

        “The systemic exception . . . is something of an enigma. We first recognized the

        exception 30 years ago, but ‘no published opinion in this circuit has ever found that

        a challenge was “systemic” and exhaustion not required.’” Martinez v. Newsom, 46

        F.4th 965, 974 (9th Cir. 2022) (quoting Student A. ex rel. Parent A v. S.F. Unified Sch.

        Dist., 9 F.4th 1079, 1084 (9th Cir. 2021)). See also Simmons v. Pritzker, No. 22 CV

        0123, 2022 WL 7100611, at *4 n.3 (N.D. Ill. Oct. 12, 2022) (noting that “[t]hough

        at least three circuits recognize a systemic-violation or general-applicability

        exception, of those, only the Second Circuit has ever found one in practice”). Not

        only do Appellants contend that they should be the first plaintiffs in the Fourth

        Circuit to be given the benefit of the syste”ic exception, they also seek to become

        one of the few plaintiffs in the entire nation that have ever been granted the benefit

        of it.

                 Even if this Court chose to recognize a systemic exception, Appellants have

        not sufficiently pleaded claims of systemic violations against the FCSB Appellees,

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        as discussed above. For a systemic exception to apply, Appellants “must, at a

        minimum, identify an ‘agency decision, regulation, or other binding policy’ that

        caused his or her injury.” Martinez, 46 F.4th at 974. Appellants have not done so in

        this case. Accordingly, a systemic exception should not apply.

                     2. Appellants have not met their burden of proof that all hearing
                        officers are biased


              The Chaplicks’ final attempt at being excused from exhausting administrative

        remedies is by asserting that the process would have been futile because every

        hearing officer in Virginia is biased against students with disabilities and their

        families. Despite their conclusory allegations, anecdotal grievances, and flawed

        statistics, Appellants have not rebutted—and cannot rebut—the “presumption of

        honesty and integrity” afforded to hearing officers. K.I. v. Durham Pub. Sch. Bd.of

        Educ, No. 1:19-cv-857, 2020 WL 3512213, at *6 (M.D.N.C. June 29, 2020).

        Appellants attempt to weave a disjointed web of “conflicts of interest” by referring

        to the fact that hearing officers are paid by the state (and not the school divisions)

        for their experience, expertise, and hard work in hearing and deciding due process

        cases as a “direct and substantial pecuniary interest.” (JA64) Similar efforts to

        frame common administrative practices that allow due process hearings to be

        conducted in an efficient and effective manner do not make a showing of actual bias,

        no matter how ominously appellants attempt to present them.


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              Appellants’ attempts at proving hearing officers bias with flawed and

        incomplete statistics regarding the outcomes of due process hearings do not rebut

        the presumption of honesty and integrity either. As an initial matter, the denominator

        used in the statistics—the number of cases that actually end up as contested cases

        decided by a hearing officer—discounts that many cases are settled before reaching

        that point. Educators and parents all want what is best for their students, and most

        recognize that effective communication and collaboration, rather than protracted

        litigation, best solves disputes arising under the IDEA. Indeed, this effort at

        collaboration is at the very heart of the IDEA’s administrative review process, which

        also includes a mandatory period in which the parties must attempt to resolve the

        dispute either informally or with the assistance of a mediator. 20 U.S.C. §

        1415(f)(1)(B).

              It is also true that school divisions are most likely to settle those cases that

        they are most at risk of losing—or those without merit when a cost-benefit analysis

        weighs in favor of settling—before those cases go in front of a hearing officer for a

        decision. So, although Appellants would have this Court believe that even the most

        egregious abuses are ignored by hearing officers, the reality is that those cases are

        the least likely to go forward to a hearing because they have already been settled

        between the school division and the parents.




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              Appellants’ own statistics support the conclusion that the only cases that

        proceed to a due process hearing are those for which the school district determines

        it is likely to prevail and the cost-benefit weighs in favor of litigating. According to

        Appellants’ statistics, the number of complaints settled, withdrawn, or dismissed

        prior to a hearing vastly outweighs the number that are resolved through a hearing.

        If school districts receive more favorable outcomes from hearings more frequently

        than parents, it is at least as likely that the reason for this is that school districts

        endeavor to resolve cases in which they have potential liability and only litigate

        when the law and the facts predict a greater likelihood of success.

              None of Appellants’ arguments and conclusory allegations rebut the

        presumption of integrity for hearing officers such that the Chaplicks’ decision not to

        pursue a due process hearing should be excused as futile. In any event, had the

        Chaplicks followed the due process procedure (during which they could have raised

        the issue of bias) and been unsuccessful, they then could have filed their individual

        IDEA request for federal court review. During that review process, they could have

        requested that the court consider further evidence, including hearing officer bias.

        See E.L. ex rel. Lorsson v. Chapel Hill Carrboro Bd. Of Educ., 773 F.3d 509, 516-

        17 (4th Cir. 2014) (noting that under the IDEA, a reviewing court receives the full

        record of the administrative proceeding, can hear additional evidence, and conducts

        a de novo review).

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              Accordingly, the FCSB Appellees respectfully request that this Court uphold

        the district court’s decision that the Chaplicks failed to exhaust administrative

        remedies and did not meet their burden of proof for excusal.7

        IV.   M.B. and the Binghams’ claims were properly dismissed due to the
              duplicative filing in the same court and should be affirmed based on res
              judicata principles


              Unlike the Chaplicks, the Binghams did exhaust their administrative

        remedies. They also, however, cannot proceed in this action because they previously

        raised their claims against the FCSB Appellees before a separate judge in the same

        district court. Those claims were not only duplicative of their claims in this action,

        but are now barred by res judicata as a result of that judge’s findings and entry of a

        final order finding that the FCSB provided M.B. a FAPE. See Taylor v. Sturgell,

        553 U.S. 880, 891-93 (4th Cir. 2008) (“Under the doctrine of claim preclusion, a final

        judgment forecloses ‘successive litigation of the very same claim, whether or not re-

        litigation of the claim raises the same issues as the earlier suit.’” (quoting New

        Hampshire v. Maine, 532 U.S. 742, 748 (2001))). The Binghams are precluded from

        contesting matters “that they have had a full and fair opportunity to litigate[.] . . .


        7
          Appellants also argue that the Chaplicks have vicariously exhausted administrative
        remedies because the Binghams did. However, Appellants argue that the Binghams
        claims in this case are distinct from the claims presented in their administrative case.
        Appellants cannot have it both ways. Either the Binghams did exhaust and that case
        is duplicative of this one, or they did not exhaust and both the Chaplicks and the
        Binghams claims should be dismissed for failure to exhaust.
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        [This] protects their adversaries from the expense and vexation attending multiple

        lawsuits, conserves judicial resources, and fosters reliance on judicial action by

        minimizing the possibility of inconsistent decisions.” Montana v. United States, 440

        U.S. 147, 153-54 (1979).

              Like the Chaplicks, the Binghams also attempt to avoid dismissal by invoking

        the “systemic” nature of the claims and relief sought in this action. Again, however,

        the Appellants have failed to state a claim for systemic relief.

         V.   The district court properly determined that Hear Our Voices (HOV)
              lacked standing


              The district court determined that HOV lacked standing, both on behalf of any

        members (representational standing) and for its own alleged damages

        (organizational standing). The district court’s findings apply to both the VDOE

        Appellees and the FCSB Appellees. Therefore, to avoid duplication of argument,

        the FCSB Appellees adopt by reference the arguments regarding HOV’s lack of

        standing made by the VDOE Appellees in their separate brief.

              However, with respect to representational standing, there is one point of

        clarification that is distinct to the claims against the FCSB Appellees. To meet the

        requirements of representational standing, HOV must demonstrate that “‘(1) its own

        members would have standing to sue in their own right; (2) the interests the

        organization seeks to protect are germane to the organization’s purpose; and (3)


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        neither the claim nor the relief sought requires the participation of individual

        members in the lawsuit.’” S. Walk at Broadlands Homeowner’s Ass’n v. OpenBand

        at Broadlands, LLC, 713 F.3d 175, 184 (4th Cir. 2013) (quoting Md. Highways

        Contractors Ass’n v. Maryland, 933 F.2d 1246, 1251 (4th Cir. 1991)).

              In a footnote, the district court judge stated that he was “unconvinced that

        adjudicating these claims would require individual participation . . . to determine

        whether Virginia’s system provides all the rights and procedural safeguards that the

        IDEA requires.” (JA219 (citation omitted)). That statement, however, relates only

        to the purported claims against the VDOE Appellees. The claims against the FCSB

        Appellees are entirely focused on whether the FCSB Appellees provide a FAPE to

        its students with disabilities through appropriate individualized education programs.

        The only method for determining whether an individual student was provided a

        FAPE is through an examination of the circumstances surrounding that individual

        student. This would have to be done for each of the tens of thousands of students

        who have “requested or received an evaluation for special education and related

        services.” (JA31). Because resolution of the claims against the FCSB Appellees

        requires the participation of individual HOV members, HOV does not have

        representational standing.




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        VI.   The Appellants failed to state a claim for relief under 42 U.S.C. § 1983

              The FAC fails to state claims under 42 U.S.C. § 1983 against Superintendent

        Reid in her official capacity.8 Although Counts I and II of the FAC are styled as

        Section 1983 claims based on alleged due process and equal protection violations

        (JA107-110), they are improper attempts to shoehorn IDEA claims into a different

        cause of action. This Court has held that parties may not proceed on Section 1983

        claims for IDEA violations “[b]ecause IDEA provides a comprehensive remedial

        scheme for violations of its own requirements.” Sellers v. Sch. Bd. of City of

        Manassas, 141 F.3d 524, 527 (4th Cir. 1998). It is clear from the pleadings that the

        “federal rights” Appellants assert under Section 1983 are those set forth in the

        IDEA—the rights to a FAPE, an IEP, and impartial due process hearings. Any action

        to vindicate IDEA rights must be brought under the detailed processes established

        by the IDEA. Accordingly, Appellants have failed to state a claim and Counts I and

        II of the FAC should be dismissed.

       VII.   Appellants fail to state claims for class action relief.


              The class claims should be dismissed for failure to state a claim because

        Appellants fail to set forth sufficient facts to meet the threshold requirements under


        8
         Although the FAC named Superintendent Reid in her official capacity, an official
        capacity claim is essentially the same claim that could be brought against the entity
        of which she is an agent—the FCSB. Monell v. Dep’t of Soc. Servs. of N.Y.C., 436
        U.S. 658, 690-91 (1978); Kentucky v. Graham, 473 U.S. 159, 166 (1985).
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        Fed. R. Civ. P. 23(a). In re McCormick & Co., 217 F. Supp. 3d 124, 140 (D.D.C.

        2016) (quoting McCrary v. Stifel, Nicolaus, & Co., 687 F.3d 1052, 1059 (8th Cir.

        2012) (holding that “class claims that fail to meet the requirements of Rule 23 may

        be properly dismissed by granting a Rule 12(b)(6) motion”)), amended on other

        issues, In re McCormick & Co., 275 F. Supp. 3d 218 (D.D.C. 2017); Beck v.

        McDonald, 848 F.3d 262, 269-71 (4th Cir. 2017).

              Rule 23(a) requires not merely the literal raising of “common ‘questions,’”

        but rather “the capacity of a class-wide proceeding to generate common answers apt

        to drive the resolution of the litigation.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S.

        338, 350 (2011) (emphasis in original) (citations omitted); D.L. v. Dist. of Columbia,

        713 F.3d 120, 125 (D.C. Cir. 2013). In other words, not only must the plaintiffs’

        claims depend upon a “common contention,” but plaintiffs must “demonstrate that

        the class members ‘have suffered the same injury.’” Wal-Mart, 564 U.S. at 349-50

        (emphasis added) (quoting Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 157 (1982)

        ); see also Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 491 (2013)

        (Thomas, J., dissenting) (“A plaintiff seeking class certification is not required to

        prove the elements of his claim at the certification stage, but he must show that the

        elements of the claim are susceptible to class wide proof.”).

              The Supreme Court has explained the required level of commonality “does

        not mean merely that [members of the class] have all suffered a violation of the same

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        provision of law.” Wal-Mart, 564 U.S. at 350. Rather, the “claims must depend

        upon a common contention” and “must be of such a nature that it is capable of class-

        wide resolution—which means that determination of its truth or falsity will resolve

        an issue that is central to the validity of each one of the claims in one stroke.” Id.

        (emphasis added). “Without some glue holding the alleged reasons for all those

        decisions together,” the Court held, “it will be impossible to say that examination of

        all the class members’ claims for relief will produce a common answer to the crucial

        question.” Id. at 352 (emphasis in original). Rule 23 class actions are not an

        appropriate vehicle for resolving individual allegations challenging distinct

        decisions made by different persons who had been given substantial discretion,

        because such situations are the antithesis of a situation in which the resolution of a

        challenge to a single policy or practice may efficiently resolve multiple claims at

        once. In Wal-Mart, the plaintiffs attempted to introduce “statistical and anecdotal

        evidence” to demonstrate a commonality of actions, but the Court found such

        “evidence falls well short.” Wal-Mart, 564 U.S. at 356.

              Adjudication of such claims as described for the FCSB class would require

        review of highly individualized facts given the nature of the IDEA process and the

        individualized education program requirements. Such claims are not capable of

        class-wide proof and resolution. See McCrary, 687 F.3d at 1058-59 (dismissing class

        claim that would require review of highly individualized facts).

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              Accordingly, the FCSB Appellees respectfully request that this Court dismiss

        the class claims.

                                          CONCLUSION

              For all of the above reasons, for any additional reasons to be argued at hearing,

        and for the reasons argued before the district court, the district court properly

        dismissed the FAC against the FCSB Appellees and that judgment should be

        affirmed.

              Respectfully submitted this 11th day of December 2023.
        FAIRFAX COUNTY SCHOOL BOARD and DR. MICHELLE REID

                     /s/                                    /s/
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              I hereby certify that on December 11, 2023, I filed the foregoing with the

        Clerk of the Court for the United States Court of Appeals for the Fourth Circuit by

        using the CM/ECF system, which will send a notification to the attorneys of record

        in this matter who are registered with the Court’s CM/ECF system.

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